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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

 UNITED STATES OF AMERICA                       *
                                                *    CR 1:17-34
        v.                                      *
                                                *
 REALITY LEIGH WINNER,                          *
                                                *
              Defendant.                        *
                                                *
                                                *
                                             *******

                           GOVERNMENT’S NOTICE OF FILING

       The United States hereby gives notice that on December 14, 2017, it filed with the Court,

through the Classified Information Security Officer, a pleading entitled the “Government’s

Notice Pursuant to Section 10 of the Classified Information Procedures Act.”




                                            Respectfully submitted,


                                            BOBBY L. CHRISTINE
                                            UNITED STATES ATTORNEY

                                            //s// Jennifer G. Solari

                                            Jennifer G. Solari
                                            Assistant United States Attorney


                                            //s// David C. Aaron

                                            David C. Aaron
                                            Trial Attorney
                                            U. S. Department of Justice
                                            National Security Division

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                              //s// Julie Edelstein

                              Julie A. Edelstein
                              Trial Attorney
                              U. S. Department of Justice
                              National Security Division




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                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in

this Court.

       This 14th day of December 2017.

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              //s// Julie A. Edelstein

                                              Julie A. Edelstein
                                              Trial Attorney

600 E Street, N.W.
Washington, D.C. 20004
(202) 233-2260




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